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Attorneys for Relator

      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA, ex rel.,
 JULIE MADSEN, M.D., an individual,

             Relator/Plaintiff

 v.                                         Case No. 15-210 S-EJL

 ST. LUKE’S HEALTH SYSTEM, LTD., an         STIPULATION TO EXTEND
 Idaho Corporation, ST. LUKE’S McCALL,      DEADLINE FOR RELATOR TO
 LTD., an Idaho Corporation, IDAHO ELKS     RESPOND TO DEFENDANTS’
 REHABILITATION HOSPITAL, INC., an          MOTIONS TO DISMISS AMENDED
 Idaho Corporation, WARREN GUDE,            COMPLAINT AND FOR
 M.D. RAYMOND OTTO, M.D. and                DEFENDANTS TO FILE REPLY
 John/Jane Does I through X, whose true     BRIEFS
 identities are unknown,

             Defendants


        COME NOW the parties, Relator, Julie Madsen, M.D., by and through her attorneys of

record, Jason R.N. Monteleone of the law firm of Johnson & Monteleone, L.L.P., and Eric S.

STIPULATION TO EXTEND DEADLINE FOR RELATOR TO RESPOND TO DEFENDANTS’
MOTIONS TO DISMISS AMENDED COMPLAINT - 1
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Rossman of the law firm of Rossman Law Group, LLC, and Defendants, St. Luke’s Health System,

Ltd., and St. Luke’s McCall, by and through their attorneys of record, Matthew P. Gordon, David

B. Robbins, and Kristina J. Holm, of the law firm of Perkins Coie, L.L.P., Defendants Idaho Elks

Rehabilitation Hospital, Inc., by and through its attorneys of record, Thomas J. Mortell and Tyler

J. Anderson of the law firm of Hawley Troxell Ennis & Hawley, L.L.P., Defendants Warren Gude,

M.D,. and Raymond Otto, M.D., by and through their attorneys of record, Harold Malkin and

Taylor Washburn of the law firm of Lane Powell, P.C., and hereby agree and stipulate to extend

the deadline relative to each and all of these Defendants’ various Motions to Dismiss Amended

Complaint (Docket Nos. 50, 51, and 53) as follows:

       1.      The current deadline for Relator to oppose the pending motions to dismiss is

               October 23, 2018;

       2.      Relator should be afforded an additional three (3) weeks to file her opposition

               papers to the pending motions to dismiss and shall file her opposition papers on or

               before November 13, 2018; and

       3.      Defendants shall file their reply briefs, if any, on or before December 4, 2018.

       The basis for the instant stipulation is that Relator’s counsel, in light of current,

professional commitments, requires an additional three (3) weeks to prepare appropriate

oppositions to Defendants’ motions to dismiss the amended complaint, and, of course, Defendants

should have additional time to prepare their reply briefs, if any.

       DATED: This 16th day of October, 2018.

       ROSSMAN LAW GROUP, PLLC



       /s/ Erica S. Phillips
       Erica S. Phillips
       Attorneys for Relator/Plaintiff

STIPULATION TO EXTEND DEADLINE FOR RELATOR TO RESPOND TO DEFENDANTS’
MOTIONS TO DISMISS AMENDED COMPLAINT - 2
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     DATED: This 16th day of October, 2018.


     PERKINS COIE, L.L.P.


     /s/ Matthew P. Gordon
     David B. Robbins
     Matthew P. Gordon
     Kristina J. Holm
     Attorneys for Defendants St. Luke’s Health
     System, Ltd, and St. Luke’s McCall

     DATED: This 16th day of October, 2018.


     HAWLEY TROXELL ENNIS &
      HAWLEY, L.L.P.


     /s/ Thomas J. Mortell
     Thomas J. Mortell
     Tyler J. Anderson
     Attorneys for Defendants Idaho Elks Rehabilitation
     Hospital, Inc.,


     DATED: This 16th day of October, 2018.


     LANE POWELL, P.C.


     /s/ Harold Malkin
     Harold Malkin
     Taylor Washburn
     Attorneys for Defendants Warren Gude, M.D.,
     and Raymond Otto, M.D.




STIPULATION TO EXTEND DEADLINE FOR RELATOR TO RESPOND TO DEFENDANTS’
MOTIONS TO DISMISS AMENDED COMPLAINT - 3
